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                                                 South Carolina v. United States, No. 12‐CV‐203 (CKK‐BMK‐JDB)
                                                         Third U.S. Supplement to the Joint Appendix

        USJA            USJA                                Original 
Tab No. Bates Start     Bates End      Original Bates Start Bates End    Title                  Description                                                      Date


   285   JA‐US 003552   JA‐US 003598   SC_00163912         SC_00163958   Transcript             Conference Committee Hearing                                     6/3/2010
                                                                                                Comparison of GA Voter ID Statute and SC Voter ID Bill; NOTE: this 
                                                                                                exhibit is missing two check marks next to "DMV ID w/photo", per  8/29/2012; 
   286   JA‐US 003685   JA‐US 003686                                     US Demonstrative 179   the 8/30/12 Tr. at 6:17‐23 (Dellheim)                               8/30/2012


   287   JA‐US 003687   JA‐US 003687                                     US Demonstrative 184   Stewart: Demonstrative Maps and Aids (Summary of Conclusions)    8/31/2012


   288   JA‐US 003688   JA‐US 003690                                     US Demonstrative 185   Turnout results in 2004 and 2008 GA elections                    8/29/2012




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